 Case 1:16-cr-00190-CMH Document 81 Filed 10/23/18 Page 1 of 8 PageID# 410




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA


                          Alexandria Division




JACQUELINE GREEN-MORRIS,

           Petitioner,                  Criminal No. l:16-cr-190
V.



UNITED STATES OF AMERICA,

           Respondent.

                           MEMORANDUM OPINION



     THIS MATTER comes before the Court on Petitioner Jacqueline

Green-Morris's ("Petitioner") Motion to Set Aside and/or Correct

her Sentence under 28 U.S.C. § 2255.


     On August 30, 2016, Petitioner pleaded guilty to conspiracy

to commit money laundering in violation of 18 U.S.C. § 1956(h).

     At sentencing on January 27, 2017, the Court entered a

Restitution Order stating Petitioner owed $4.1 million in

restitution to Victim A pursuant to her plea agreement. The

Petitioner also signed a consent order of forfeiture, which the

Court entered at sentencing. The Court sentenced the Petitioner

to 63 months imprisonment and 3 years of supervised release.

     On February 8, 2017, Petitioner filed a notice of appeal

from the Court's judgment order. The Fourth Circuit granted the

government's motion to dismiss the appeal, noting that the

Petitioner had "knowingly and voluntarily" waived her right to
Case 1:16-cr-00190-CMH Document 81 Filed 10/23/18 Page 2 of 8 PageID# 411
Case 1:16-cr-00190-CMH Document 81 Filed 10/23/18 Page 3 of 8 PageID# 412
Case 1:16-cr-00190-CMH Document 81 Filed 10/23/18 Page 4 of 8 PageID# 413
Case 1:16-cr-00190-CMH Document 81 Filed 10/23/18 Page 5 of 8 PageID# 414
Case 1:16-cr-00190-CMH Document 81 Filed 10/23/18 Page 6 of 8 PageID# 415
Case 1:16-cr-00190-CMH Document 81 Filed 10/23/18 Page 7 of 8 PageID# 416
Case 1:16-cr-00190-CMH Document 81 Filed 10/23/18 Page 8 of 8 PageID# 417
